       Case 1:22-cr-00015-APM             Document 417     Filed 12/06/22          Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                            Criminal Number       22-15

Minuta et al
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:                 (Please check one)


 9■      CJA                9      RETAINED             9     FEDERAL PUBLIC DEFENDER



                                                                   (Signature)



                                              PLEASE PRINT THE FOLLOWING INFORMATION:


                                            Christa Y Nicols 1673761
                                                           (Attorney & Bar ID Number)
                                            Clintion & Peed PLLC
                                                                  (Firm Name)

                                            1775 Eye Street NW Suite 1150
                                                                (Street Address)

                                            Washington D.C. 20006
                                              (City)               (State)            (Zip)

                                            202-919-0032
                                                              (Telephone Number)
